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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:16-cv-03431-SVW-E                                            Date      June 7, 2016
 Title             Renee Olloque et al v. Equifax, Inc.




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER MOVING CASE TO INACTIVE CALENDAR
                              PENDING SETTLEMENT


        The Court, having received Plaintiff’s Notice of Settlement, filed June 6, 2016, vacates the initial
status conference.

        The Court moves the matter to the inactive calendar pending finalization of settlement. The
parties shall proceed with the settlement as outlined in the notice. Should the settlement not be finalized
within the designated time, the parties shall notify the Court, in writing, and request that the matter be
restored to the active calendar.




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                                                               Initials of Preparer              PMC
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